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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

KIMARIO ANDERSON, individually
and on behalf of the Coca-Cola Bottlers’
Association 401(k) Retirement Savings
Plan and all others similarly situated,
                                                     Case No. 21-cv-02054
                                   Plaintiff,
v.
                                                     SECOND AMENDED
COCA-COLA BOTTLERS’ ASSOCIATION,                     CLASS ACTION COMPLAINT
THE COCA-COLA BOTTLERS’
ASSOCIATION 401(K) SAVINGS PLAN
BENEFIT COMMITTEE, STEPHANIE R.
GRIFFIN, ANN BURTON, SUZY
HIGGINBOTHAM, JOHN GOULD, and JOHN
AND JANE DOE DEFENDANTS 4–30,

                                   Defendants.


                                           INTRODUCTION

       Plaintiff Kimario Anderson (“Plaintiff”), individually and on behalf of the Coca-Cola

Bottlers’ Association 401(k) Retirement Savings Plan (the “Plan”) and a class of similarly situated

participants in and beneficiaries of the Plan, brings this class action pursuant to the Employee

Retirement Income Security Act of 1974, as amended (“ERISA”), against the Plan’s fiduciaries,

including the Coca-Cola Bottlers’ Association (“CCBA”), The Coca-Cola Bottlers Association

401(k) Savings Plan Benefit Committee, Stephanie R. Griffin, Ann Burton, Suzy Higginbotham,

John Gould, and John and Jane Does 1–30 (collectively “Defendants”) for breaches of their

fiduciary duties.

       Plaintiff brings this action by and through his undersigned attorneys based upon personal

knowledge, information contained in the Plan’s Summary Plan Description (“SPD”), the Plan’s

publicly available Form 5500 series filings with the United States Department of Labor, the
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account information and statements provided to him as a participant in the Plan, and other

information publicly available or obtained through counsel’s preliminary investigation. Plaintiff

anticipates that discovery will uncover further support for the allegations in this Complaint and,

potentially, for additional claims.

        As described herein, Defendants have breached their fiduciary duties to the Plan in

violation of ERISA, to the detriment of the Plan and its participants and beneficiaries. Plaintiff

brings this action to remedy this unlawful conduct, prevent further mismanagement of the Plan,

and obtain equitable and other relief as provided by ERISA. Plaintiff brings this action and requests

this relief for the benefit of the Plan and its participants and beneficiaries. In support of his claims,

Plaintiff states and alleges as follows:

                                        NATURE OF THE CASE

        1.      This is a civil enforcement action brought on behalf of the Plan pursuant to the

applicable provisions of the Employee Retirement Income Security Act of 1974, as amended, 29

U.S.C. § 1001 et seq. (“ERISA”).

        2.      This class action concerns the Plan and is brought on behalf of all persons who were

and/or are participants in and beneficiaries of the Plan at any time during the six-year period

preceding the filing of the original Complaint and up through the present (the “Class Period”).

        3.      Defendants were fiduciaries of the Plan during the Class Period.

        4.      Defendants were responsible for selecting, monitoring, and removing investment

options made available to the Plan participants, as well as controlling and accounting for expenses

of the Plan.




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       5.      The fiduciary obligations of plan fiduciaries to the participants and beneficiaries of

an ERISA-governed plan are “the highest known to the law.” Braden v. Wal-Mart Stores, Inc., 588

F.3d 585, 598, 602 (8th Cir. 2009).

       6.      Fiduciaries must act “solely in the interest of the participants and beneficiaries.” 29

U.S.C. § 1104(a)(1).

       7.      When selecting investment options for an ERISA-governed plan, the plan’s

fiduciaries are required to act for the exclusive benefit of the plan and its participants and

beneficiaries, perform with undivided loyalty, act prudently, defray reasonable plan expenses,

diversify investments to minimize large losses unless clearly prudent not to do so, and discharge

their duties in accordance with the governing documents and instruments so long as they are

consistent with ERISA. ERISA § 404(a)(1), 29 U.S.C. § 1104(a)(1).

       8.      Defendants failed to fulfill these duties.

       9.      During the Class Period, Defendants could have leveraged the Plan’s assets to

qualify for lower-cost versions of the same investments, chosen less costly and equally or better-

performing investment options for the Plan, and used the Plan’s size to reduce recordkeeping fees.

       10.     Also, during the Class Period, Defendants included as an option the Coca-Cola

Common Stock Fund (an undiversified investment) instead of well-diversified options, even

though The Coca-Cola Company’s common stock performed poorly in comparison to its

benchmark, thereby imposing more risk on and less return for participants.

       11.     Plaintiff brings this action to remedy the losses the Plan has sustained as a result of

these and other fiduciary breaches by Defendants and to obtain such further equitable or remedial

relief as may be appropriate to redress and to enforce the provisions of ERISA.




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          12.   Plaintiff did not have knowledge of all material facts necessary to understand that

Defendants breached their fiduciary duties and engaged in other unlawful conduct in violation of

ERISA until shortly before this suit was filed, including, among other things, the investment

alternatives that are comparable to the investments offered within the Plan, comparisons of the

costs and investment performance of Plan investments versus available alternatives within

similarly-sized Plans, total cost comparisons to similarly-sized Plans, information regarding other

available share classes, and information regarding the availability and pricing of collective trusts

and separate accounts and market-rate recordkeeping costs.

          13.   Plaintiff did not have and does not have actual knowledge of the specifics of

Defendants’ decision-making process with respect to the Plan, including Defendants’ processes

(and execution of such) for selecting, monitoring, and removing Plan investments, because this

information is solely within the possession of Defendants prior to discovery.

          14.   Having never managed a large 401(k) plan such as the Plan, Plaintiff lacked actual

knowledge of reasonable fee levels and prudent alternatives available to such plans.

          15.   Plaintiff did not and could not review the meeting minutes or other evidence of

Defendants’ fiduciary decision-making process, or the lack thereof.

          16.   This Complaint is based upon reasonable inferences drawn from the facts set forth

herein.

                                          THE PARTIES

          17.   Defendant Coca-Cola Bottlers’ Association (“CCBA”) is a Georgia corporation

with its headquarters located in Atlanta, Georgia.

          18.   CCBA members consist of all 65 U.S. independent bottlers of Coca-Cola, as well

as associate members that include bottler-owned production cooperatives.



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       19.     CCBA states that offers a wide array of programs for its members, including

employee benefits, to “take advantage of the collective size and strength” of its membership and

assist its members in reducing costs.

       20.     One of the programs CCBA offers for its members is a 401(k) plan.

       21.     The Coca-Cola Bottlers’ Association 401(k) Retirement Savings Plan (the “Plan”)

is intended to be a multiple employer plan (“MEP”) under 26 U.S.C. §413(c).

       22.     As a sponsor and administrator of the Plan, CCBA is a fiduciary of the Plan within

the meaning of ERISA § 3(21)(A), 29 U.S.C. § 1002(21)(A).

       23.     More than half of CCBA’s members participate in the Plan.

       24.     The Plan’s participants consist of current and former employees of independent

companies that are members of CCBA.

       25.     Defendant Coca-Cola Bottlers’ Association 401(k) Retirement Savings Plan

Benefit 401 (the “Committee”) was appointed by CCBA to help carry out the Plan’s administrative

functions and to assist CCBA as the Plan Administrator. (Doc. 14-2 at 56 (Plan Doc at 9.01)). The

Committee may have up to five members, but it must include CCBA’s Executive Director, Chief

Financial Officer, and Manager – Retirement Services. The Committee is responsible for (1)

“establishing and periodically reviewing the Policy Statement,” (2) “revising investment policy . .

. to reflect changing conditions with the Plan, or to refine the Policy Statement to make it more

effective,” (3) “determining the Plan’s investment options,” (4) “monitoring investment

performance and compliance with [the] Policy Statement,” and (5) appointing an investment

consultant, if one is appointed.

       26.     Defendant Stephanie R. Griffin (“Griffin”), CCBA’s Senior Manager for Employee

Benefits, signed the Form 5500 on behalf of the Plan Administrator and Plan Sponsor during the



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Class Period and also signed the Plan’s Investment Policy Statement for 2021. Griffin is a member

of the Committee and therefore is part of the group that oversees and is responsible for

administering the Plan.

       27.     As a member of the Committee, Griffin had control over the management of the

Plan and its assets, including developing and executing the Plan’s Investment Policy Statement

and investment policies and objectives; selecting and regularly monitoring the investment options

in the Plan, including but not limited to the performance and costs of those investment options and

comparing them to other better-performing or less-costly alternatives; and choosing and

overseeing the Plan’s third-party administrator, custodian, trustee, recordkeeper, and other service

providers, monitoring their compensation, and minimizing the costs of such third-party services.

       28.     Defendant Ann Burton (“Burton”) was CCBA’s Chief Financial Officer during all

or part of the Class Period. Burton also signed the Plan’s Investment Policy Statement in at least

2012, 2016, and 2018. By the nature of her title, Burton was a member of the Committee and was

therefore part of the group that oversaw and administered the Plan.

       29.     As a member of the Committee, Burton had control over the management of the

Plan and its assets, including developing and executing the Plan’s Investment Policy Statement

and investment policies and objectives; selecting and regularly monitoring the investment options

in the Plan, including but not limited to the performance and costs of those investment options and

comparing them to other better-performing or less-costly alternatives; and choosing and

overseeing the Plan’s third-party administrator, custodian, trustee, recordkeeper, and other service

providers, monitoring their compensation, and minimizing the costs of such third-party services.




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       30.        Defendant Suzy Higginbotham is CCBA’s Chief Financial Officer. By the nature

of her title, Higginbotham is on the Committee and was therefore part of the group that oversaw

and administered the Plan.

       31.        As a member of the Committee, Higginbotham had control over the management

of the Plan and its assets, including developing and executing the Plan’s Investment Policy

Statement and investment policies and objectives; selecting and regularly monitoring the

investment options in the Plan, including but not limited to the performance and costs of those

investment options and comparing them to other better-performing or less-costly alternatives; and

choosing and overseeing the Plan’s third-party administrator, custodian, trustee, recordkeeper, and

other service providers, monitoring their compensation, and minimizing the costs of such third-

party services.

       32.        Defendant John Gould is CCBA’s Executive Director and Chief Executive Officer.

By the nature of his title, Gould was on the Committee and was therefore part of the group that

oversaw and administered the Plan.

       33.        As a member of the Committee, Gould had control over the management of the

Plan and its assets, including developing and executing the Plan’s Investment Policy Statement

and investment policies and objectives; selecting and regularly monitoring the investment options

in the Plan, including but not limited to the performance and costs of those investment options and

comparing them to other better-performing or less-costly alternatives; and choosing and

overseeing the Plan’s third-party administrator, custodian, trustee, recordkeeper, and other service

providers, monitoring their compensation, and minimizing the costs of such third-party services.

       34.        Defendants John and Jane Does 4–30 are the other individuals who are or were

members of the Committee and were or are responsible for administering the Plan.



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       35.      As such, Defendants John and Jane Does 4–30 are or were the individuals or part

of the group that was delegated control over the management of the Plan and its assets, including

developing and executing the Plan’s Investment Policy Statement and investment policies and

objectives; selecting and regularly monitoring the investment options in the Plan, including but

not limited to the performance and costs of those investment options and comparing them to other

better-performing or less-costly alternatives; and choosing and overseeing the Plan’s third-party

administrator, custodian, trustee, recordkeeper, and other service providers, monitoring their

compensation, and minimizing the costs of such third-party services.

       36.      ERISA requires every plan to provide for one or more named fiduciaries who will

have “authority to control and manage the operation and administration of the plan.” 29 U.S.C.

§ 1102(a)(1).

       37.      ERISA treats as fiduciaries not only persons expressly named as fiduciaries under

ERISA § 402(a)(1), 29 U.S.C. § 1102(a)(1), but also any other persons who in fact perform

fiduciary functions.

       38.      Defendants are, or during the Class Period were, fiduciaries of the Plan under

ERISA.

       39.      Defendants were fiduciaries of the Plan because they were so named; they exercised

authority or control respecting management or disposition of the Plan’s assets; they exercised

discretionary authority or discretionary control respecting management of the Plan; or they had

discretionary authority or discretionary responsibility in the administration of the Plan.

       40.      Plaintiff Kimario Anderson (“Anderson”) is a resident of Kansas.

       41.      Plaintiff Anderson was employed by Heartland Coca-Cola Bottling Company, LLC

(“Heartland”), a Kansas corporation.



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         42.   Heartland is a member of CCBA and is a participating employer in the Plan.

         43.   Plaintiff Anderson participated in the Plan during the Class Period and has suffered

harm as a result of Defendants’ breaches of their fiduciary duties under, and violations of, ERISA.

         44.   Anderson invested in at least 33 different investment options offered by the Plan

during the Class Period, including many of the options specifically identified below as imprudent

(including American Funds Europacific Growth R4, Wells Fargo Stable Return Fund, and Coca-

Cola Common Stock Fund, among others). Accordingly, he has suffered personal injury in fact,

including but not limited to injury from the imprudent menu of investment options offered in the

Plan, as well as monetary injury in the form of diminution of the value of his assets in the Plan

(due to excessive management fees in overpriced finds, excessive overall recordkeeping fees, and

lost gains due to underperformance), as a result of Defendants’ breach of their fiduciary duties of

prudence and loyalty as alleged below.

         45.   Plaintiff Anderson brings these claims individually and on behalf of the Plan and a

class of participants in and beneficiaries of the Plan.

         46.   Defendant CCBA may be served with process through its registered agent, John

Gould, at 3282 Northside Parkway Suite 200, Atlanta, Georgia 30327.

         47.   Defendant Griffin may be served at 317 Mirramont Ct., Woodstock, GA 30189-

8219.

         48.   Defendant Higginbotham may be served at 1714 Atlantic Beach Drive, Atlantic

Beach, FL 32233.

         49.   Defendant Gould may be served at 811 N. Island Terrace, Atlanta, GA 30327.




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                                     JURISDICTION AND VENUE

        50.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1331 because it is a civil action arising under the laws of the United States, and pursuant to

ERISA § 502(e)(1), 29 U.S.C. § 1332(e)(1), which provides for federal jurisdiction of actions

brought under Title I of ERISA.

        51.     Plaintiff received and expected to receive his benefits from the Plan in Kansas.

        52.     Plaintiff participates in the Plan through his Kansas employer, Heartland.

        53.     Defendants solicited Heartland’s membership and communicated information

about the Plan to Heartland in Kansas.

        54.     Defendants continue to communicate Plan information to Heartland and other

employer sponsors in Kansas.

        55.     Defendants communicated information about the Plan to Plaintiff in Kansas.

        56.     ERISA provides for nationwide service of process, ERISA § 502(e)(2), 29 U.S.C.

§ 1132(e)(2).

        57.     The Court has personal jurisdiction over this case, and venue is proper in this

District.

        58.     The Court also has personal jurisdiction over Defendants pursuant to Fed. R Civ.

P. 4(k)(1)(A) because they would be subject to the jurisdiction of a court of general jurisdiction in

Kansas.

                                ERISA’S FIDUCIARY STANDARDS

        59.     To safeguard plan participants and beneficiaries, ERISA imposes strict fiduciary

duties of loyalty, prudence, diversification, and compliance with the plan document upon plan




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fiduciaries. 29 U.S.C. § 1104(a)(1). These fiduciary duties apply to Defendants because they are

fiduciaries of the Plan.

       60.     ERISA § 404(a)(1), 29 U.S.C.§ 1104(a)(1), imposes a “prudent person” standard

of care on plan fiduciaries:

       [A] fiduciary shall discharge his duties with respect to a plan solely in the interest
       of the participants and beneficiaries and—

       (A)     for the exclusive purpose of:

               (i)     providing benefits to participants and their beneficiaries; and
               (ii)    defraying reasonable expenses of administering the plan;

       (B)     with the care, skill, prudence, and diligence under the circumstances then
       prevailing that a prudent man acting in a like capacity and familiar with such
       matters would use in the conduct of an enterprise of like character and with like
       aims;

       (C)     by diversifying the investments of the plan so as to minimize the risk of
       large losses, unless under the circumstances it is clearly prudent not to do so; and

       (D)     in accordance with the documents and instruments governing the plan
       insofar as such documents and instruments are consistent with the provisions of this
       title and title IV.

       61.     ERISA also imposes co-fiduciary duties on plan fiduciaries. ERISA § 405, 29

U.S.C. § 1105, states in relevant part that:

       In addition to any liability which he may have under any other provision of this
       part, a fiduciary with respect to a plan shall be liable for a breach of fiduciary
       responsibility of another fiduciary with respect to the same plan in the following
       circumstances:

       (1)     if he participates knowingly in, or knowingly undertakes to conceal, an act
               or omission of such other fiduciary, knowing such act or omission is a
               breach;
       (2)     if, by his failure to comply with section 404(a)(1) in the administration of
               his specific responsibilities which give rise to his status as a fiduciary, he
               has enabled such other fiduciary to commit a breach; or

       (3)     if he has knowledge of a breach by such other fiduciary, unless he makes
               reasonable efforts under the circumstances to remedy the breach.

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       62.     Under ERISA, fiduciaries who exercise discretionary authority or control over the

selection of plan investments must act prudently and solely in the interest of participants and

beneficiaries of the plan.

       63.     Thus, “the duty to conduct an independent investigation into the merits of a

particular investment” is “the most basic of ERISA’s investment fiduciary duties.” In re Unisys

Savings 401(k) Plan Litig., 74 F.3d 420, 435 (3d Cir. 1996).

       64.     Indeed, fiduciary decisions may dramatically affect the amount of money

participants save for retirement.

       65.     For example, an illustration from the Department of Labor shows that a 1%

difference in fees over a person’s career makes a 28% difference in retirement savings. U.S. Dept.

of Labor, A Look at 401(k) Plan Fees, at 2 (Sept. 2019).

       66.     An ERISA fiduciary has a continuing duty to monitor investments and remove

imprudent ones. Tibble v. Edison Int’l, 135 S. Ct. 1823, 1828–29 (2015). Prudence requires a

review at “regular intervals.” Id. at 1828.

       67.     As the Department of Labor explains:

       [T]o act prudently, a plan fiduciary must consider, among other factors, the
       availability, riskiness, and potential return of alternative investments for his or her
       plan. [Where an investment], if implemented, causes the plan to forego other
       investment opportunities, such investments would not be prudent if they provided
       a plan with less return, in comparison to risk, than comparable investments
       available to the plan, or if they involved a greater risk to the security of plan assets
       than other investments offering a similar return.

DOL Opinion 88-16A (1988).
     68.    A fiduciary’s duty of loyalty requires a fiduciary to act solely in the interest of plan

participants and beneficiaries, as the Department of Labor has explained:

       [T]he Department has construed the requirements that a fiduciary act solely in the
       interest of, and for the exclusive purpose of providing benefits to participants and
       beneficiaries, as prohibiting a fiduciary from subordinating the interests of

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       participants and beneficiaries in their retirement income to unrelated objectives. In
       other words, in deciding whether and to what extent to invest in a particular
       investment, or to make a particular fund available as a designated investment
       alternative, a fiduciary must ordinarily consider only factors relating to the interests
       of plan participants and beneficiaries in their retirement income. A decision to make
       an investment, or to designate an investment alternative, may not be influenced by
       non-economic factors unless the investment ultimately chosen for the plan, when
       judged solely on the basis of its economic value, would be equal to or superior to
       alternative available investments.

DOL Opinion 98-04A (1998); see also DOL Opinion 88-16A (1988).

       69.    In a separate publication, the Department of Labor further explains:

       The Federal law governing private-sector plan, the Employee Retirement Income
       Security Act (ERISA), requires that those responsible for managing a plan –
       referred to as fiduciaries – carry out their responsibilities prudently and solely in
       the interest of the plan’s participants and beneficiaries. Among other duties,
       fiduciaries have a responsibility to ensure that the services provided to their plan
       are necessary and that the cost of those services is reasonable.
                                                ....

       Plan fees and expenses are important considerations for all types of plans. As a plan
       fiduciary, you have an obligation under ERISA to prudently select and monitor plan
       investments, investment options made available to the plan’s participants and
       beneficiaries, and the persons providing services to your plan. Understanding and
       evaluating plan fees and expenses associated with plan investments, investment
       options, and services are an important part of a fiduciary’s responsibility. This
       responsibility is ongoing. After careful evaluation during the initial selection, you
       will want to monitor plan fees and expenses to determine whether they continue to
       be reasonable in light of the services provided.
                                                ....

       By far the largest component of plan fees and expenses is associated with managing
       plan investments. Fees for investment management and other related services
       generally are assessed as a percentage of assets invested. Employers should pay
       attention to these fees. They are paid in the form of an indirect charge against the
       participant’s account or the plan because they are deducted directly from
       investment returns. Net total return is the return after these fees have been deducted.
       For this reason, these fees, which are not specifically identified on statements of
       investments, may not be immediately apparent to employers.

U.S. Dep’t of Labor Emp. Benefits Sec. Admin., Understanding Retirement Plan Fees and

Expenses 1–2, 4 (2011).



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                                    GENERAL ALLEGATIONS

       70.     The Plan is a “defined contribution” plan under ERISA.

       71.     A defined contribution plan is a type of retirement plan in which the employer,

employee, or both make contributions on a regular basis, individual accounts are set up for

participants, and benefits are based on the amounts credited to these accounts (through employee

contributions and, if applicable, employer contributions), plus any investment earnings on the

money in the account.

       72.     In a defined contribution plan, each participant has an individual account and

directs plan contributions into one or more investment alternatives in a lineup chosen by the plan’s

fiduciaries. “[P]articipants’ retirement benefits are limited to the value of their own individual

investment accounts, which is determined by the market performance of employee and employer

contributions, less expenses.” Tibble, 135 S. Ct. at 1826.

       73.     Plan expenses can “significantly reduce the value of an account in a defined-

contribution plan.” Id.

       74.     The fees assessed to participants are generally attributable to two types of services:

plan administration and investment management.

       75.     The Plan’s fiduciaries have control over these expenses.

       76.     The fiduciaries are responsible for hiring administrative service providers and

negotiating and approving their compensation.

       77.     The fiduciaries also have exclusive control over the menu of investment alternatives

available to plan participants. The investment alternatives each have their own fees, typically

expressed as a percentage of assets under management, or expense ratio. If, for example, a fund

charges 1.0% of fund assets each year in fees, the fund’s expense ratio would be 1.0%, or 100 basis



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points. The fees deducted from a fund’s assets reduce the value of the shares, and thus reduce the

returns participants receive on their investments.

       78.      These fiduciary decisions have the potential to dramatically affect the amount of

money plan participants are able to save for retirement.

       79.      Fiduciaries must engage in a rigorous process to control costs and ensure that

participants pay no more than a reasonable level of fees.

       80.      This is particularly true for large plans, which have the bargaining power to obtain

the lowest fees.

       81.      Contributions to the Plan are made in the form of salary deferral contributions by

individual employee participants, through the participant’s employer in the form of employer

matching contributions, and through profit-sharing contributions.

       82.      Participants’ contributions vest immediately and safe harbor matching and profit-

sharing contributions vest 100% after two years of service.

       83.      Defendants selected and retained various investment options made available to

participants in the Plan and chose the recordkeeper for the Plan.

       84.      At the choice and discretion of Defendants, various investment options are made

available to participants in the Plan.

       85.      As of December 31, 2018, for example, the Plan included 24 investment options:

22 mutual funds; one collective investment trust fund; and a Coca-Cola Common Stock Fund.

       86.      By December 31, 2018, the Plan had more than 19,000 participants and managed

more than $650,000,000 in total assets, approximately $540,000,000 of which was invested in

mutual funds.




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       87.     According to the Plan’s 2019 Form 5500, as of December 2019 the Plan had more

than $799,000,000 in net assets.

       88.     Based on the most recent data available to Plaintiff, the Plan would be in the top

0.1% of all 401(k) plans based on size, in terms of both plan assets and number of plan participants.

       89.     A “‘multiple employer plan’ can refer to a variety of different kinds of employee-

benefit arrangements,” including sponsorship of a defined contribution retirement plan by “a group

or association of employers.” 84 Fed. Reg. 37508, 37512 (July 31, 2019).

       90.     “Grouping small employers together into a MEP” in this way can “facilitate savings

through administrative efficiencies” and “price negotiation.” Id. at 37533.

       91.     MEPs achieve economies of scale of large plans that provide a “distinct economic

advantage[]” of lower administrative costs for individual employers. Id.

       92.     MEPs create cost efficiencies in at least two ways: “First, as scale increases,

marginal costs for MEPs . . . diminish and MEPs . . . spread fixed costs over a larger pool of

member employers and employee participants, creating direct economic efficiencies. Second,

larger scale may increase the negotiating power of MEPs.” Id.

       93.     MEPs operating as a large single plan can secure lower-cost administrative services

from service providers.

       94.     Because the Plan is a MEP, it is a single Plan with a single Plan document that all

participating employers must agree to and cannot alter.

       95.     Furthermore, the Plan files a single Form 5500 with the Department of Labor.

       96.     Because of the Plan’s size, CCBA had, and continues to have, the ability to choose

investment options not generally available and had and has significant bargaining power with




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respect to the fees and expenses that were charged against participants’ investments and the fees

and expenses charged for recordkeeping services.

       97.     Indeed, as CCBA itself recognizes on its website promoting its 401k plan: “In 401k

Plan pricing, size is power; and this Plan is massive.” The Coca-Cola Bottlers’ Association

Defined Contribution Plan (401k) (last visited Mar. 9, 2021), https://ccbanet.com/programs/

employee-benefits/defined-contribution-plan-401k/.

       98.     But, as described below, Defendants did not take advantage of this leverage and

bargaining power, nor did they take appropriate actions to reduce the Plan’s investment and

recordkeeping expenses, or exercise appropriate judgment to scrutinize each investment option

that was offered in the Plan to ensure it was prudent. The Plan paid and charged to participants

fees that were far in excess of what the Plan could have obtained without sacrificing the quality of

the Plan’s services or investments.

       Defendants Failed to Properly Investigate and Select Lower Cost Investment Options
       for Plan Participants.

       99.     As the Plan’s fiduciaries, Defendants must engage in a prudent and loyal process

to select, monitor, remove, and retain Plan investment options.

       100.    As noted above, under 29 U.S.C. § 1104(a)(1), Defendants must provide diversified

investment options for the Plan. But diversification is not the only consideration for a prudent and

loyal fiduciary.

       101.    ERISA also requires Defendants to evaluate and monitor the fees and costs

associated with the Plan’s investment options, and to give substantial consideration to those fees

and costs when determining which options to remove or retain.

       102.    As explained below, Defendants failed to offer Plan participants similar investment

options to those in the Plan that were less costly and better performing, failed to take advantage of

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savings offered by lower cost share classes of mutual funds already in the Plan, and failed to

consider investment vehicles with lower fees than those in the Plan, such as collective trusts (also

called “collective investment trusts” and “collective trust funds”), commingled accounts, and

separate accounts.

       103.    As a result of Defendants’ systemic failure to properly investigate and select lower

cost investment options for Plan participants (as explained in detail below), nearly the entire menu

of investment options was overpriced compared to the other options (lower price share classes of

the same funds; lower price substantially similar alternative investments; and lower price CIT

versions of identical mutual funds) that prudent and loyal fiduciaries would have selected for the

benefit of the Plan and its participants.

                             Total Funds      Overpriced         % Overpriced
                 Year        in Plan          Funds in Plan      Funds in Plan
                 2015        25               16                 64%
                 2016        24               20                 83%
                 2017        24               21                 88%
                 2018        24               22                 92%


       104.    Had Defendants fulfilled their duties under ERISA and engaged in a prudent and

loyal process to select, monitor, retain, and remove investment options from the Plan, these failures

would not have occurred.

       105.    Defendants’ actions were contrary to the actions of a reasonable fiduciary and cost

the Plan and its participants millions of dollars.

       106.    Defendants failed to follow the requirements of their Investment Policy Statements.


       Defendants Imprudently Retained Investment Options in the Plan Despite the
       Availability of Similar, Lower-Cost, Better-Performing Options.




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       107.    “Wasting beneficiaries’ money is imprudent. In devising and implementing

strategies for the investment and management of trust assets, trustees are obligated to minimize

costs.” Uniform Prudent Investor Act § 7.

       108.    Defendants’ duty to evaluate and monitor fees and investment costs includes fees

paid directly by plan participants to investment providers, usually in the form of an expense ratio

or a percentage of assets under management within a particular investment.

       109.    Costs not paid by the employer, such as administrative, investment, legal, and

compliance costs, are effectively paid by plan participants.

       110.    The fiduciary task of evaluating investments and investigating comparable

alternatives in the marketplace is made much simpler by the advent of independent research from

companies like Morningstar, which sort investments of all kinds into categories based on the

underlying securities in each portfolio.

       111.    ERISA-mandated monitoring of investments leads prudent and impartial plan

fiduciaries to continually evaluate performance and fees, resulting in great competition among

investment providers in the marketplace.

       112.    Prudent and impartial plan sponsors should be monitoring both the performance

and cost of the investments selected for 401(k) plans, as well as investigating alternatives in the

marketplace to ensure that well-performing, low cost investment options are being made available

to plan participants.

       113.    Defendants failed to consider and select lower cost investment options that were

similar to or in the same investment style as those being offered in the Plan.

       114.    For example, Defendants should have realized that the T. Rowe Price target date

mutual funds were directing a substantial portion of their assets into the proprietary T. Rowe Price



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Equity Index 500 fund, which charged a fee that Morningstar called “outrageous”:

       Target-date managers can better serve investors by using cheap options when
       selecting underlying index funds. There are over 40 large-cap passive options used
       within target-date funds, ranging from large-value to equally weighted indexes, but
       most reside in the large-blend Morningstar Category and track the S&P 500.
       Despite near identical objectives, prices vary. Fees range from cheap—Schwab and
       State Street both charged 0.03% on their U.S. large-cap index offerings—to simply
       outrageous—MainStay offers its MainStay S&P 500 Index for 0.35% and T. Rowe
       Price charges 0.25% for T. Rowe Price Equity Index 500, which has $27 billion in
       assets.

Morningstar 2017 Target-Date Fund Landscape Report (Apr. 21, 2017).

       115.    Thus, Defendants served up target date funds that, for at least part of the Class

Period, directed a substantial portion of their assets to an S&P 500 fund that charged more than

seven times the market rate.

       116.    Moreover, Defendants designated the target date funds as the Plan’s Qualified

Default Investment Alternative (“QDIA”)—the investment used when an employee contributes to

the Plan without having specified how the money should be invested—during the Class Period.

By selecting the target date funds as the Plan’s QDIA, Defendants drove even more participant

money to those unnecessarily expensive investment options.

       117.    The chart below sets forth examples of various Plan investment options, and how

much more expensive they were compared to substantially similar alternative investment options

that were available to the Plan (using, as an example, 2018 expense ratios):

                                                                                % In-Plan
          In Plan/
                                                                Expense        Fee Exceeds
      Similar Low Fee            Investment Option
                                                                 Ratio         Alternative
        Alternatives
                                                                                Low Fee
                            T. Rowe Price Retirement 2030
            In Plan                   (TRRCX)                     0.67%
           Low Fee          State Street Target Retirement
          Alternative             2030 K (SSBYX)                  0.09%         644.44%



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                 T. Rowe Price Retirement 2040
     In Plan               (TRRDX)                0.72%
    Low Fee      State Street Target Retirement
   Alternative         2040 K (SSCQX)             0.09%    700%

                 T. Rowe Price Retirement 2050
     In Plan               (TRRMX)                0.72%
    Low Fee      State Street Target Retirement
   Alternative          2050 K (SSDLX)            0.09%    700%
    Low Fee      TLLPX TIAA-CREF Lifecycle
   Alternative    Index 2050 Premier (TLLPX)      0.25%    188%

                 T. Rowe Price Retirement 2060
     In Plan                (TRRLX)               0.72%
    Low Fee      State Street Target Retirement
   Alternative         2060 K (SSDYX)             0.09%    700%
    Low Fee       TIAA-CREF Lifecycle Index
   Alternative       2060 Premier (TVIPX)         0.25%    188%

     In Plan      Mainstay Large Cap Growth
                          (MLAIX)                 0.75%
    Low Fee       Vanguard U.S. Growth Fund
   Alternative       Admiral (VWUAX)              0.30%    150%

     In Plan         Hartford Midcap R5
                          (HFMTX)                 0.86%
    Low Fee       Vanguard Mid-Cap Growth
   Alternative    Index Admiral (VMGMX)           0.07%   1128.57%
    Low Fee       Bridge Builder Small/Mid
   Alternative        Growth (BBGSX)              0.42%   104.76%

                 American Funds Balanced R4
     In Plan             (RLBEX)                  0.63%
    Low Fee       Vanguard Balanced Index I
   Alternative            (VBAIX)                 0.06%    950%

                  American Funds Europacific
     In Plan         Growth R4 (REREX)            0.83%
    Low Fee                VWILX
   Alternative   Vanguard Int’l Growth Admiral    0.32%   159.38%

                   Goldman Sachs Small Cap
     In Plan         Value Inst. (GSSIX)          0.94%
    Low Fee        Vanguard Small Cap Index
   Alternative            (VSCIX)                 0.04%   2,250%


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        118.    The low fee investment option alternatives listed in the chart above performed

comparably with or better than, and in some cases significantly better than, their comparable option

in the Plan.

        119.    The expense ratios for the in-plan and substantially similar alternative investment

options in the other years of the Class Period were similar to those in 2018 (which are provided

simply as a specific illustration).

        120.    The substantially similar, but lower-cost, alternative investment options in the chart

above were identified using an industry recognized software program that uses quantitative

methods, such as returns-based and holdings-based correlation analysis, to find funds that are

highly similar to the fund being analyzed, resulting in an “apples-to-apples” comparison.

        121.    A prudent and loyal fiduciary would not have selected investment options that were

significantly more expensive, but performed no better (or significantly worse), than substantially

similar alternative investment options. No reasonable, prudent justification exists for Defendants’

failure to do so.

        Defendants Failed to Take Advantage (or to Timely Take Advantage) of Lower Cost
        Share Classes of the Mutual Funds in the Plan.

        122.    Beyond their failure to properly monitor the Plan’s investment options and offer

substantially similar alternative options that cost substantially less (and performed better),

Defendants also failed to take advantage of lower-cost shares and utilize lower-cost CIT versions

of the investment options they did offer.

        123.    Larger asset balances in 401(k) plans lead to economies of scale and special pricing

within mutual funds and other investment products.

        124.    Larger 401(k) plans should have significantly lower asset-weighted average

expense ratios than smaller plans.

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       125.    The Plan’s expense ratios were multiples of what they should have been given the

bargaining power available to Defendants.

       126.    For example, many mutual funds offer multiple classes of shares in a single mutual

fund that are targeted at different investors with more expensive share classes generally targeted

at smaller investors with less bargaining power, while lower cost shares are targeted at

“institutional investors” with more assets (generally, $1 million or more) and therefore greater

bargaining power.

       127.    Typically, there is no difference between share classes other than cost—i.e., the

funds hold identical investments and have the same manager.

       128.    Fiduciaries must consider the size and purchasing power of their plan in selecting

share classes or alternative investments.

       129.    It is a foundational investment management principle that an investor with a larger

amount to invest can expect to negotiate lower fees.

       130.    Large defined contribution plans, such as the Plan, qualify for lower-cost share

classes and alternative investments because of their size and purchasing power.

       131.    A fiduciary’s “duty to avoid unwarranted costs is given increased emphasis in the

prudent investor rule.” Restatement (Third) of Trusts ch. 17, intro. note (2007); Tibble, 135 S. Ct.

at 1828 (relying on Restatement (Third) of Trusts to interpret ERISA).

       132.    Prudent fiduciaries will search for and select the lowest-priced share class available.

       133.    During the Class Period, Defendants failed to offer the lowest cost share class of

mutual funds available to the Plan.

       134.    No reasonable, prudent justification exists for Defendants’ failure to offer the

lowest cost share class available for the mutual funds in the Plan.



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       135.     Based on data and information from industry sources, even if there was any revenue

sharing from some of these funds, any such revenue sharing would have been limited to only some

of the funds at issue; and, even for any funds in which there was revenue sharing, the revenue

sharing from those funds would not have been sufficient to fully offset or otherwise justify the

significantly higher expenses charged by the share classes Defendants selected for inclusion in the

Plan versus the lower-priced share classes available based on the size of the Plan.

       136.      At all times during the Class Period, Defendants knew or should have known of

the existence of cheaper share classes of the mutual funds in the Plan and thus also should have

promptly identified the prudence of transferring the Plan’s funds into these lower cost share

classes.

       137.     Yet, even though the Plan’s size and scale made it possible for the fiduciaries to

select identical lower cost share counterparts much earlier during the Class Period, Defendants

repeatedly failed to take action to utilize the Plan’s “massive” scale.

       138.     As demonstrated by the chart below, Defendants failed to ensure that the Plan was

invested in the lowest-cost share class available for the Plan’s mutual funds and did not promptly

switch to these lower cost alternatives when they became available.

       139.     The following chart provides an example of how much more expensive the funds

in the Plan were than their identical, lower-cost counterparts (using 2018 expense ratios):

                                2018                                2018
                                               Lower Cost                        % Fee
            Fund in Plan       Expense                             Expense
                                               Share Class                       Excess
                                Ratio                               Ratio

           American Funds                    American Funds
             American                          American
                                0.63%                               0.28%         125%
            Balanced R4                       Balanced R6
             (RLBEX)                           (RLBGX)



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  American Funds              American Funds
   Europacific                 Europacific
                     0.83%                       0.49%    69%
   Growth R4                   Growth R6
    (REREX)                     (RERGX)


     Columbia                   Columbia
  Dividend Income    0.96%   Dividend Income     0.58%    66%
    A (LBSAX)                 Inst (CDDYX)



   Fidelity Small             Fidelity Small
    Cap Growth       1.02%   Cap Growth Inst.    0.90%    13%
     (FCPGX)                    (FIDGX)



     Hartford                    Hartford
    MidCap R5        0.86%      MidCap R6        0.76%    13%
    (HFMTX)                     (HFMVX)


     Invesco                     Invesco
    Developing                 Developing
                     1.05%                       0.87%    21%
    Markets Y                  Markets Inst.
    (ODVYX)                     (ODVIX)


   JPMorgan Mid               JPMorgan Mid
    Cap Value I               Cap Value Inst
                     0.98%                       0.75%    31%
     (JMVSX)                    (FLMVX)

 MainStay Winslow            MainStay Winslow
    Large Cap                    Large Cap
                     0.74%                       0.63%    17%
     Growth I                   Growth R6
     (MLAIX)                    (MLRSX)

 Metropolitan West           Metropolitan West
   Total Return                Total Return
      Bd M           0.67%       Bd Inst.        0.45%    49%
    (MWTRX)                     (MWTIX)




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         MFS Value R4                       MFS Value R6
                               0.58%                              0.48%           21%
           (MEIJX)                           (MEIKX)


        Principal Global                    Principal Global
          Real Estate                          Real Estate
                               0.94%                              0.88%            7%
            Sec Inst.                           Sec R6
            (POSIX)                            (PGRSX)

         T. Rowe Price                      T. Rowe Price
         Growth Stock          0.67%      Growth Stock Inst.      0.52%           29%
           (PRGFX)                            (PRUFX)


       Wells Fargo Stable                 Wells Fargo Stable
         Return Fund           0.76%        Return Fund           0.41%           85%
          Class N35                            Class N



       140.    The following chart provides an example of how much more expensive the funds

in the Plan were than their identical, lower-cost counterparts (using 2017 expense ratios):

                               2017                               2017
                                              Lower Cost                         % Fee
          Fund in Plan        Expense                            Expense
                                              Share Class                        Excess
                               Ratio                              Ratio

        American Funds                      American Funds
          American                            American
                               0.64%                              0.29%           121%
         Balanced R4                         Balanced R6
          (RLBEX)                             (RLBGX)


        American Funds                      American Funds
         Europacific                         Europacific
                               0.85%                              0.50%           70%
         Growth R4                           Growth R6
          (REREX)                             (RERGX)


           Columbia                           Columbia
        Dividend Income        0.98%       Dividend Income        0.59%           66%
          A (LBSAX)                         Inst (CDDYX)


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   Fidelity Small             Fidelity Small
    Cap Growth       1.09%   Cap Growth Inst.     0.91%   20%
     (FCPGX)                    (FIDGX)



     Hartford                    Hartford
    MidCap R5        0.86%      MidCap R6         0.76%   13%
    (HFMTX)                     (HFMVX)


     Invesco                     Invesco
    Developing                 Developing
                     1.07%                        0.88%   22%
    Markets Y                  Markets Inst.
    (ODVYX)                     (ODVIX)


   JPMorgan Mid               JPMorgan Mid
    Cap Value I               Cap Value Inst
                     0.99%                        0.75%   32%
     (JMVSX)                    (FLMVX)

 MainStay Winslow            MainStay Winslow
    Large Cap                    Large Cap
                     0.74%                        0.62%   19%
     Growth I                   Growth R6
     (MLAIX)                    (MLRSX)

 Metropolitan West           Metropolitan West
   Total Return                Total Return
      Bd M           0.67%       Bd Inst.         0.44%   52%
    (MWTRX)                     (MWTIX)


   MFS Value R4               MFS Value R6
                     0.59%                        0.49%   20%
     (MEIJX)                   (MEIKX)


  Principal Global            Principal Global
    Real Estate                  Real Estate
                     0.90%                        0.88%   2%
      Sec Inst.                   Sec R6
      (POSIX)                    (PGRSX)

   T. Rowe Price               T. Rowe Price
   Growth Stock      0.68%   Growth Stock Inst.   0.52%   31%
     (PRGFX)                     (PRUFX)


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       Wells Fargo Stable                  Wells Fargo Stable
         Return Fund            0.69%        Return Fund           0.34%           103%
          Class N35                             Class N



       141.    The expense ratios for the Plan funds and the lower-cost share classes of the same

funds in 2015 and 2016 were similar to those reflected in the tables above for 2017 and 2018.

       142.    No prudent, loyal reason exists for not having offered, or for not having switched

and more promptly offered Plan participants lower-cost share classes of the same fund.

       143.    Had Defendants engaged in a prudent, loyal process to select, monitor, retain, and

remove investment options from the Plan, they would have utilized the lower-cost share classes of

the mutual funds in the Plan. Defendants’ failure in this regard caused the Plan and its participants

to pay millions of dollars in unnecessary fees. Apparently recognizing this, but years later than a

prudent fiduciary would have, in 2019 Defendants finally moved some of the funds in the Plan to

available lower price share classes.

       144.    Failing to move funds in the Plan to available lower price share classes before 2019

shows that Defendants did not employ a prudent, loyal process to select, monitor, remove, and

retain investment options.

       145.    In 2018, Defendants amended the Investment Policy Statement to say, “The

Committee believes that participants should have access to low-priced investment options. Where

available, the Committee will offer funds with no additional revenue sharing (institutional pricing)

or 12b-1 fees. Where this is not available or not beneficial to the participant, the Committee has

instructed the recordkeeper to collect these fees and to rebate them as soon as administratively

feasible to the participants using those funds.” In 2019, Defendants discontinued some of the more

expensive share class versions of the funds and replaced them with the lower cost institutional

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versions or lower cost similar funds. When this occurred, Plan participants’ balances were

automatically transferred to the lower cost institutional versions or lower cost similar funds.

Defendants thus acknowledge by their actions that these lower priced institutional versions of the

investments and lower cost similar funds (whether structured as a collective investment trust or a

mutual fund) were beneficial to the participants. A prudent fiduciary would have recognized and

done this all along.

       Defendants Failed to Offer the Collective Trust Version of the T. Rowe Price Target Date
       Mutual Funds in the Plan, Costing Plan Participants Significantly More in Fees for an
       Identical Product.

       146.    Plan fiduciaries must be continually mindful of the types of investment options

available to ensure they do not unduly risk plan participants’ savings or charge unreasonable fees.

       147.    Defendants’ own Investment Policy Statements required that they review expense

ratios for “similar investments,” but they failed to follow this requirement.

       148.    For the majority of the Class Period, Defendants did not utilize the Plan’s assets to

substantially reduce fees by moving assets from mutual funds to lower-cost institutional vehicles,

like collective investment funds or separate accounts, that provided an identical product.

       149.    Like mutual funds, collective investment trusts (“CITs” or “collective trusts”) pool

plan participants’ investments, but can provide an even lower fee alternative compared to I-share

classes of mutual funds.

       150.    Collective trusts are administered by banks or trust companies, which assemble a

mix of assets such as stocks, bonds, and cash, and are not available to the general public.

       151.    Regulated by the Office of the Comptroller of the Currency, rather than the

Securities and Exchange Commission, collective trusts have simple disclosure requirements and

cannot advertise or issue formal prospectuses.



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       152.    Unlike with mutual funds, many collective trust managers are fiduciaries and are

subject to ERISA fiduciary standards, i.e., they must manage the CIT accounts solely in the plan

participants’ interest, which is a benefit to plan participants who invest in CITs.

       153.    Collective trusts are also subject to state and federal banking regulations that

provide comparable protections to the Investment Company Act.

       154.    To state it another way, collective trusts are subject to robust regulations, but do

not have to be registered with the Securities and Exchange Commission because, unlike mutual

funds, they are not a retail product available to the general public.

       155.    Collective trusts thus can have much lower costs than mutual funds, with less or no

administrative costs and less or no marketing or advertising costs.

       156.    Retirement plans have used alternatives to mutual funds, such as collective trusts,

for decades.

       157.    Collective trusts contract directly with 401(k) plans and provide regular reports

regarding costs and investment holdings.

       158.    Collective trusts use a unitized structure, and the units are valued daily.

       159.    As a result, participants invested in collective trusts can track the daily performance

of their investments online.

       160.    Since at least 2012, the Plan’s Investment Policy Statement has recognized the

propriety of including collective trusts as investment options in the Plan: “Participants will be

allowed to invest in mutual funds, common or collective trust funds, and other investments that

the Committee deems appropriate.”

       161.    Since at least 2014, the Plan utilized a collective trust—the Wells Fargo Stable

Value N35 fund—as an investment option.



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          162.   Defendants thus did not have concerns about the regulatory and transparency

features of collective trusts.

          163.   Many if not most mutual fund strategies are available in collective trust format, and

in such instances the investments in the collective trusts are identical to those held by the mutual

fund.

          164.   “[A] trustee cannot ignore the power the trust wields to obtain favorable investment

products, particularly when those products are substantially identical—other than their lower

cost—to products the trustee has already selected.” Tibble, 843 F.3d at 1998.

          165.   The T. Rowe Price Retirement Trusts collective trust is substantially identical—

other than their lower cost—to the mutual fund-based T. Rowe Price Retirement Funds target-date

series.

          166.    The T. Rowe Price Retirement Trusts collective trust has the same portfolio

management team, glidepath, subasset-class exposure, tactical allocation overlay and underlying

investments as the mutual fund-based T. Rowe Price Retirement Funds target-date series.

          167.   At all times during the Class Period, had Defendants utilized a prudent process and

been properly discharging their duties for the exclusive benefit of the participants and allowing the

participants to be charged only reasonable fees, Defendants would have known or should have

known of the existence of the same target date investment in the lower-cost collective trust offering

and should therefore have promptly identified the prudence of transferring the Plan’s funds into

these lower cost alternative investments.

          168.   Despite the clear cost advantages of the collective trusts listed below, Defendants’

process failed to consider the alternative of collective trust offerings, and Defendants failed to

promptly switch to the lower cost version of the same investment.



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        169.    As the Eighth Circuit recently found in Davis v. Wash. Univ. in St. Louis, 960 F.3d

478, 483 (8th Cir. 2020), a fiduciary’s failure to switch (or timely switch) to cheaper identical

funds raises “plausible” “inferences of mismanagement” that the fiduciary either “failed to

negotiate aggressively enough” or was simply “asleep at the wheel”:

        The complaint alleges that the marketplace for retirement plans is competitive, and
        with $3.8 billion invested, WashU’s “pool of assets” is large. From these facts, two
        inferences of mismanagement are plausible from WashU’s failure to offer more
        institutional shares. The first is that it failed to gain access to them because, as the
        complaint alleges, it did not negotiate aggressively enough with Vanguard. The
        second is that it was asleep at the wheel: it failed to pay close enough attention to
        available lower-cost alternatives. Either way, a “failure of effort [or] competence”
        is enough to state a claim for breach of the duty of prudence.

        170.    Likewise here, because the marketplace for retirement plans is competitive and the

Plan’s pool of assets is large, it is plausible and indeed reasonable to infer that Defendants were

“asleep at the wheel” or “did not negotiate aggressively enough” and are guilty of a “failure of

effort or competence” and failure to act with the “immediacy” that ERISA requires. Davis, 960

F.3d at 483.

        171.    In simple terms, Defendants failed to timely switch to an investment option that

was the same investment in a different wrapper at a much lower price, and this failure reveals that

Defendants did not prudently monitor the Plan’s investment options and make decisions in the best

interest of Plan participants.

        172.    Since at least 2015, the beginning of the Class Period, Defendants could have

offered the collective trust versions of the T. Rowe Price target date mutual funds in the Plan.

        173.    The T. Rowe Price collective trust target date funds were less expensive than the

identical mutual fund versions utilized by the Plan.

        174.    Other fiduciaries of large plans were prudently paying attention and using their

scale to drive down costs in this way.

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       175.    For example, Garmin moved from T. Rowe Price mutual funds to T. Rowe Price

collective investment trusts as early as 2014.

       176.    The CCBA Plan, with hundreds of millions of dollars in various investment options,

easily qualified for these lower cost options.

       177.    At all times during the Class Period, the Plan had enough assets in the T. Rowe

Price target date mutual funds needed to qualify for the lower-cost collective trust target date fund.

       178.    The following chart provides an example of how much more expensive the Plan’s

T. Rowe Price target date funds were than their identical collective trust counterparts in 2018:



      T. Rowe Price                        T. Rowe Price Lower Cost
                             Expense                                         Expense % Fee
     Target Date Fund                     Institutional Class/Collective
                              Ratio                                           Ratio  Excess
         in Plan                                      Trust


    TRP RETIREMENT                       TRP RETIREMENT TRUST F
                              0.54%                                            0.43%       26%
      2010 (TRRAX)                                 2010



    TRP RETIREMENT                       TRP RETIREMENT TRUST F
                              0.61%                                            0.43%       42%
      2020 (TRRBX)                                 2020



    TRP RETIREMENT                       TRP RETIREMENT TRUST F
                              0.67%                                            0.43%       56%
      2030 (TRRCX)                                 2030



    TRP RETIREMENT                       TRP RETIREMENT TRUST F
                              0.72%                                            0.43%       67%
      2040 (TRRDX)                                 2040



    TRP RETIREMENT                       TRP RETIREMENT TRUST F
                              0.72%                                            0.43%       67%
      2050 (TRRMX)                                 2050




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    TRP RETIREMENT                       TRP RETIREMENT TRUST F
                              0.72%                                           0.43%       67%
      2060 (TRRLX)                                 2060


       179.    The following chart provides an example of how much more expensive the Plan’s

T. Rowe Price target date funds were than their identical collective trust counterparts in 2017 (even

more expensive and a greater percentage fee excess than in 2018):


      T. Rowe Price                       T. Rowe Price Lower Cost
                            Expense                                          Expense % Fee
     Target Date Fund                    Institutional Class/Collective
                             Ratio                                            Ratio  Excess
         in Plan                                     Trust


    TRP RETIREMENT                       TRP RETIREMENT TRUST F
                              0.57%                                           0.43%       33%
      2010 (TRRAX)                                 2010



    TRP RETIREMENT                       TRP RETIREMENT TRUST F
                              0.63%                                           0.43%       47%
      2020 (TRRBX)                                 2020



    TRP RETIREMENT                       TRP RETIREMENT TRUST F
                              0.69%                                           0.43%       60%
      2030 (TRRCX)                                 2030



    TRP RETIREMENT                       TRP RETIREMENT TRUST F
                              0.74%                                           0.43%       72%
      2040 (TRRDX)                                 2040



    TRP RETIREMENT                       TRP RETIREMENT TRUST F
                              0.74%                                           0.43%       72%
      2050 (TRRMX)                                 2050



    TRP RETIREMENT                       TRP RETIREMENT TRUST F
                              0.74%                                           0.43%       72%
      2060 (TRRLX)                                 2060




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        180.    The expense ratios for the T. Rowe Price target date funds in the Plan and the T.

Rowe Price institutional class collective trust in 2015 and 2016 were similar to those shown in the

charts for 2017 and 2018.

        181.    A prudent fiduciary conducting a prudent, impartial review of the Plan’s

investments would have identified the collective trust option and transferred the Plan’s investments

into the above-referenced fund collective trusts at the earliest opportunity.1

        182.    Apparently recognizing this, but years later than a prudent fiduciary would have, in

2019 Defendants finally replaced the T. Rowe Price target date mutual funds with their equivalent

collective trust counterparts.

        183.    At that time, Defendants discontinued the T. Rowe Price target date mutual funds,

and the Plan participants’ balances in these discontinued funds were automatically transferred to

the corresponding T. Rowe Price collective trust series.

        184.    Thus, Defendants recognized that these collective trusts were meaningful and

appropriate comparators to the mutual fund versions (which held the same underlying investments)

and that these collective trusts were the prudent choice.

        185.    Considering well-known industry trends, publicly available information from

sources such as Morningstar and the activities of other fiduciaries, if Defendants had utilized a

prudent process, then Defendants would or should have been aware at all times during the Class

Period of the benefits of these lower-cost alternative investment vehicles and should have

immediately switched to the prudent choice, T. Rowe Price collective trust series. No reasonable,

prudent justification exists for Defendants’ failure to timely make this switch.



        1
          Moreover, not only did Defendants fail to utilize the collective trust version of these funds, they
inexplicably offered the investor share classes, rather than the cheaper I-share classes, of these T. Rowe
Price target date mutual funds.
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       186.    Instead, the Plan did not timely switch and, as a result, incurred excess fees due to

Defendants’ failure to adequately investigate the availability of collective trusts or separate

accounts in the same investment style of mutual funds in the Plan.

       187.    Because of the Plan’s size, it could have reaped considerable cost savings by using

collective trusts or separate accounts.

       188.    Failing to incorporate (or timely incorporate) the T. Rowe Price collective trust

options before 2019 shows that Defendants did not employ (or timely employ) a prudent, loyal

process to select, monitor, remove, and retain investment options.

       189.    Defendants’ failure to monitor (or timely monitor) investment options and identify

and implement (or timely identify and implement) the lowest cost alternatives during the Class

Period violated ERISA and cost the Plan and its participants millions of dollars.

       Defendants Retained the Non-Diversified Coca-Cola Common Stock Fund Despite Its
       Higher Risk and Underperformance.

       190.      The Plan offers a Coca-Cola Common Stock Fund, which is a single-stock fund

consisting of stock of the Coca-Cola Company (“Coca-Cola”).

       191.      A single-stock fund has inherent concentration and non-diversification of risk.

       192.      Diversification is a central requirement and focus of ERISA. Under ERISA,

“diversification is so important that, in addition to the duty of diversification imposed by the duty

of prudence, ERISA also codifies a freestanding duty of diversification, 29 U.S.C.

§ 1104(a)(1)(C) . . . .” Stegemann v. Gannett Co., Inc., 970 F.3d 465, 475 (4th Cir. 2020).

       193.      “[S]ingle-stock funds are, by definition, not diversified,” and courts have observed

that such funds “would seem generally imprudent for ERISA purposes.” Difelice v. U.S. Airways,

Inc., 497 F.3d 410, 424 (4th Cir. 2007) (emphasis omitted).

       194.      The Coca-Cola Common Stock Fund included in the Plan does not qualify for

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Employee Stock Ownership Plan (“ESOP”) status under ERISA.

       195.     CCBA’s members, and thereby participating employers in the Plan, are

independent bottling companies.

       196.     CCBA and its members, and their respective employees, are not employed by

Coca-Cola.

       197.     The Plan’s Coca-Cola Common Stock Fund is not an employer security.

       198.     Because the Plan is not an ESOP, and the Coca-Cola Common Stock Fund is not

an employer security, Defendants, in addition to their statutory duty of loyalty and prudence, had

an explicit statutory duty to diversify each of the Plan’s investments. See ERISA § 404(a)(1)(C),

29 U.S.C. § 1104(a)(1)(C).

       199.     The fiduciary must consider each available fund “on its own,” and each fund must

be prudent. “[A] fiduciary cannot free himself from his duty to act as a prudent [person] simply by

arguing that other funds, which individuals may or may not elect to combine with a company stock

fund, could theoretically, in combination, create a prudent portfolio.” Difelice, 497 F.3d at 423.

       200.     The Coca-Cola Common Stock Fund is not prudent or diversified as required by

ERISA.

       201.     As early as 2005, Defendants recognized that the Coca-Cola Common Stock Fund

“may not be a suitable option for retirement savings” based on “market studies and investor

behavior.”

       202.     Recognizing the imprudence of the non-diversified Coca-Cola Common Stock

Fund as a suitable option for retirement savings, Defendants “froze” the fund and did not allow

Plan participants to make new contributions or purchases into the fund. However, Defendants

imprudently allowed participants to retain their previous investments in this fund, in a total amount



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of up to $54 million.

       203.      As a single stock fund, the Coca-Cola Common Stock Fund was inherently unduly

risky because it put all the eggs in one basket, and thus violated the fiduciary duties of prudence

and diversification.

       204.      Despite recognizing the imprudence of this fund as a suitable option for retirement

savings, Defendants admit that the reason they permitted new participants who joined the Plan to

retain their previous investments in the Coca-Cola Common Stock Fund was because of CCBA’s

members’ business partnerships with the Coca-Cola Company.

       205.      Defendants thus put the business interests of CCBA and its members ahead of the

interests of Plan participants, thereby breaching their fiduciary duty of loyalty, in addition to their

duties of prudence and diversification.

       206.      The fact that Defendant’s monitoring and retention process (which Plaintiff did

not and does not have actual knowledge of) resulted in retaining this inherently riskier, non-

diversified fund gives rise to a plausible and indeed reasonable inference that Defendant’s process

was not prudent.

       207.      The Department of Labor explained what a prudent process might look like:

       [T]o act prudently, a plan fiduciary must consider, among other factors, the
       availability, riskiness, and potential return of alternative investments for his or her
       plan. [Where an investment], if implemented, causes the plan to forego other
       investment opportunities, such investments would not be prudent if they provided
       a plan with less return, in comparison to risk, than comparable investments
       available to the plan, or if they involved a greater risk to the security of plan assets
       than other investments offering a similar return.

DOL Opinion 88-16A (1988).

       208.      But, in fact, Defendants’ process resulted in an inherently riskier non-diversified

investment that had far worse results than the benchmark selected by the Plan.



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        209.     On the statements sent out by the Plan, the benchmark index used for the Coca-

Cola Common Stock Fund was the S&P 500 Index.

        210.     The Coca-Cola Common Stock Fund had a return that was less than half of this

Plan-selected benchmark over the one-, five-, and ten-year periods ending June 30, 2020, as

reflected on Plaintiff’s own statement ending the same date, while continually subjecting

participants in the Coca-Cola Common Stock Fund to the risk of large losses.

        211.     According to Morningstar, from January 29, 2015, through February 26, 2021,

while the Coca-Cola Common Stock (with dividends)2 had a return of 41.64%, the benchmark

Fidelity 500 Index Fund (FXAIX) had a return of 112.96%. To put this in real dollar terms, this

means that if a participant invested $10,000 in the Fidelity 500 Index Fund instead of the Coca-

Cola Common Stock on Jan 29, 2015, the participant would now have $7,000 more in the

participant’s 401(k) account, while taking less risk.

        212.     The inherently risker, non-diversified Coca-Cola Common Stock Fund reduced

Plan participants’ retirement benefits because retaining the fund caused Plan participants to forgo

other investment opportunities and options that would have provided Plan participants with higher

returns and less risk.

        213.     Because of CCBA’s members’ business partnerships with the Coca-Cola

Company, CCBA and the other Defendants had a conflict and placed the interests of CCBA

members and/or the Coca-Cola Company ahead of Plan participants and beneficiaries.

        214.     This imprudent, disloyal, and non-diversified investment resulted in Plan

participants losing out on millions of dollars in additional retirement savings.

        215.     No prudent and loyal reason for including and retaining this non-diversified,


        2
         The performance of Coca-Cola Common Stock with dividends, as reported by Morningstar,
should be materially similar to the performance of the Coca-Cola Common Stock Fund itself.
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underperforming single-stock fund as an investment option in the Plan exists, and doing so was

imprudent and is evidence of an imprudent and disloyal decision-making process.

       Defendants’ Relationship with Wells Fargo

       216.     Wells Fargo Bank, N.A. (“Wells Fargo”) acted as the Plan’s recordkeeper during

the Class Period.

       217.     For part of the Class Period, Wells Fargo’s affiliate, Wells Fargo Advisors, served

as a third-party advisor to the Plan and was paid $68,939 out of Plan assets for its services.

       218.     While Wells Fargo Advisors was providing advice to the Plan, the Plan’s

investment options included three Wells Fargo funds.

       219.     Plan participants invested more than $35 million in these three Wells Fargo funds,

further enriching Wells Fargo through the additional management fees on these funds.

       220.     Thereafter and throughout the Class Period, Defendants retained the Wells Fargo

Stable Return Fund in the Plan as an investment option, even though there were cheaper and better-

performing stable value options available.

       221.     Because Defendants’ retained the Wells Fargo Stable Return Fund in the Plan,

Plan participants invested in that Fund would have paid fees to Wells Fargo in addition to what

the Plan was already paying Wells Fargo for recordkeeping.

       222.     Plan participants invested millions in the Wells Fargo Stable Return Fund,

consistently making it one of the largest funds in the Plan’s line-up and generating even more fees

for Wells Fargo.

       223.     For example, as of December 31, 2015, participants invested over $23 million in

the Wells Fargo Stable Return Fund, making it the single largest non-target date fund in the line-

up.



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       224.     The Wells Fargo Stable Return Fund was still the largest non-target date fund in

the Plan as of December 31, 2019, holding well over $49 million of Plan participant’s retirement

savings.

       225.      Even though the Wells Fargo Stable Return Fund Class N has been available since

October 1, 1985, at a cost of 41 basis points, the Plan was using the Wells Fargo Stable Return

Fund Class N35 during the Class Period at a cost of approximately 76 basis points—more than

85% more expensive than its identical Class N counterpart.

       226.     Moreover, as of fourth quarter 2016, the Wells Fargo Stable Return Fund Class

N35 had long been underperforming compared to its peer group.

       227.     As of December 31, 2017, the Wells Fargo Stable Return Fund Class N35

remained in the bottom half of its peer group with respect to fees and again was in the bottom half

of its peer group for performance for the prior year.

       228.     While performance improved for the year ending December 31,2018, the fees for

the Wells Fargo Stable Return Fund Class N35 remained high enough to keep the Class N35 in

the bottom half of its peer group.

       229.     Defendants could have reduced the costs of this fund by almost 50% by simply

including Class N in the Plan instead of Class N35.

       230.     When Defendants finally realized that Plan participants were paying too much,

and replaced the Wells Fargo Stable Return Fund Class N35 with the Wells Fargo Stable Return

Fund Class N, they nevertheless chose to keep millions of Plan-participant dollars in yet another

Wells Fargo fund that then ranked in the bottom 5% when compared to returns of similar funds

for the one year ending December 31, 2019, the bottom 35% based on the three years ending

December 31, 2019, and only barely in the top 50% for the five years ending December 31, 2019.



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       231.     As of December 31, 2020, the Wells Fargo Stable Return Fund’s (Class N shares)

performance was in the bottom 10% for the prior one-year period, bottom 10% for the prior three-

year period, and bottom 20% for the prior five-year period.

       232.     By including and retaining both the Wells Fargo Stable Return Fund Class N35

and then the Wells Fargo Stable Return Fund Class N in the Plan, Defendants showed that they

were more loyal to Wells Fargo than to the Plan and its participants.

       233.    No conflict-free, loyal, prudent process for selecting, retaining, and monitoring the

Plan’s investment options would lead fiduciaries to retain the Wells Fargo Stable Return Fund

Class N35 or the Wells Fargo Stable Return Fund Class N in the Plan.

       Defendants Allowed the Plan to Pay Unreasonable Recordkeeping Fees.

       234.     As noted above, under 29 U.S.C. § 1104(a)(1), Defendants must “defray[]

reasonable expenses of administering the plan” and act “with the care, skill, prudence, and

diligence under the circumstances then prevailing that a prudent man acting in a like capacity and

familiar with such matters would use in the conduct of an enterprise of a like character and with

like aims.”

       235.     One of the responsibilities of administering the Plan is to select and retain a

recordkeeper, paying only reasonable expenses.

       236.     Defendants utilized Wells Fargo as the recordkeeper throughout the Class Period

until January 2021.

       237.     Prior to 2019, Wells Fargo was paid in various ways, including revenue-sharing

and other indirect methods that were not transparent.

       238.     However, at all times in the Class Period, and continuing even now, Defendants

never chose to pay Wells Fargo based on a method that was directly tied to the amount of



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recordkeeping work that it did for the Plan, nor did they choose to pay Wells Fargo based on the

fair market value of the services it provided to the Plan.

       239.      Based on the Plan’s Form 5500 filings, as well as other available documents, it

appears the recordkeeping fees Wells Fargo charged the Plan during the Class Period, equate to

the following on a per-participant basis:

                                                       Per-Participant
                                 Year
                                                      Recordkeeping Fee
                                 2015                       $109
                                 2016                        $62
                                 2017                        $49
                                 2018                        $65
                                 2019                        $63

       240.     These recordkeeping fees far exceeded the reasonable, market rate for similarly

sized plans during the Class Period, as evidenced by industry survey data.

       241.     Had Defendants properly discharged their fiduciary duties in accordance with

ERISA, they would have continually monitored Wells Fargo’s recordkeeping fees and negotiated

reductions that were in line with the market. Defendants’ failure to do so resulted in damages to

the Plan and a reduction in retirement benefits for Plan participants.



                                  CLASS ACTION ALLEGATIONS

       242.    In addition to bringing this action on behalf of the Plan, pursuant to ERISA,

Plaintiff also brings this action as a class action pursuant to Rule 23 of the Federal Rules of Civil

Procedure, on behalf of a class defined as: All participants in and beneficiaries of the Plan during

the six-year period preceding the filing of this Complaint through the present, with the exception

of Defendants, Defendants’ beneficiaries, and Defendants’ immediate families.


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       243.      Class certification is appropriate under Fed. R. Civ. P. 23(a) and (b)(1), (b)(2),

and/or (b)(3).

       244.      The class satisfies the numerosity requirement because it is composed of thousands

of persons, in numerous locations.

       245.      The Plan had thousands of participants and beneficiaries in every year of the Class

Period, all of whom suffered from the limited, imprudent investment options and excessive and

improper fees alleged herein.

       246.      The number of class members is so large that joinder of all its members is

impracticable.

       247.      There are questions of law and fact common to the Class and these questions

predominate over questions affecting only individual Class members.

       248.      Common legal and factual questions include, but are not limited to:

                 A.     Whether Defendants were fiduciaries responsible for monitoring and

       making decisions with respect to the investments in the Plan and services for the Plan;

                 B.     Whether the investment decisions made by Defendants were prudent;

                 C.     Whether the investment decisions made by Defendants were solely in the

       interests of Plan participants and beneficiaries;

                 D.     Whether the Plan suffered losses as a result of Defendants’ fiduciary

       breaches; and

                 E.     Whether Defendants’ acts proximately caused losses to the Plan and, if so,

       the appropriate relief to which Plaintiff, on behalf of the Plan and the Class, are entitled.

       249.      Plaintiff’s claims are typical of the claims of the members of the Class because

Plaintiff’s claims, and the claims of all Class members, arise out of the same conduct, policies and



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practices of Defendants as alleged herein, and all members of the Class are similarly affected by

Defendants’ wrongful conduct.

        250.    Plaintiff will fairly and adequately represent the Class and has retained counsel

competent in the prosecution of ERISA class action litigation.

        251.    Plaintiff has no interests antagonistic to those of other members of the Class.

        252.    Plaintiff is committed to the vigorous prosecution of this action and anticipates no

difficulty in the management of this litigation as a class action.

        253.    Plaintiff has standing to bring this action on behalf of the Plan because he is a

participant in the Plan and was injured by Defendants’ unlawful conduct.

        254.    Plaintiff is entitled to receive benefits in the amount of the difference between the

value of his account currently or as of the time the account was distributed, and what his accounts

are or would have been worth, but for Defendants’ breaches of fiduciary duty as described herein.

        255.    Class action status in this action is warranted under Rule 23(b)(1)(A) because

prosecution of separate actions by the members of the Class would create a risk of establishing

incompatible standards of conduct for Defendants.

        256.    Class action status is also warranted under Rule 23(b)(1)(B) because prosecution

of separate actions by the members of the Class would create a risk of adjudications with respect

to individual members of the Class that, as a practical matter, would be dispositive of the interests

of other members not parties to this action, or that would substantially impair or impede their

ability to protect their interests.

        257.    In the alternative, certification under Rule 23(b)(2) is warranted because

Defendants acted or refused to act on grounds generally applicable to the Class, thereby making




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appropriate final injunctive, declaratory, or other appropriate equitable relief with respect to the

Class as a whole.

         258.   In the alternative, certification under Rule 23(b)(3) is appropriate because questions

of law or fact common to members of the Class predominate over any questions affecting only

individual members, and class action treatment is superior to the other available methods for the

fair and efficient adjudication of this controversy.

                CAUSE OF ACTION: BREACH OF FIDUCIARY DUTIES UNDER ERISA

         259.   Plaintiff repeats and realleges each of the allegations set forth above as if fully set

forth herein.

         260.   At all relevant times, Defendants were fiduciaries of the Plan within the meaning

of ERISA § 3(21)(A), 29 U.S.C. § 1002(21)(A), in that they exercised discretionary authority or

control over the administration and/or management of the Plan or disposition of the Plan’s assets.

         261.   As explained above, as the fiduciaries in charge of a “massive” retirement plan,

Defendants breached their fiduciary duties to the Plan and its participants and beneficiaries, and

are liable for their breaches and the breaches of their co-fiduciaries under 29 U.S.C. § 1104(a)(1)

and 1105(a).

         262.   As detailed above, Defendants had fiduciary responsibilities with respect to

selecting, monitoring, and removing investment options in the Plan and minimizing recordkeeping

fees.

         263.   As detailed above, Defendants caused the Plan to invest millions of dollars in

investment options that were not in keeping with their fiduciary responsibilities, and Defendants

failed to monitor and minimize the Plan’s recordkeeping costs.




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       264.    By the conduct and omissions described above, Defendants failed to discharge their

duties with respect to the Plan solely in the interest of the participants and beneficiaries and for the

exclusive purpose of providing benefits to participants and beneficiaries and defraying reasonable

expenses of administering the Plan, in violation of 29 U.S.C. § 1104(a)(1)(A).

       265.    By the conduct and omissions described above, Defendants failed to discharge their

duties with respect to the Plan with the care, skill, prudence, and diligence under the circumstances

then prevailing that a prudent person acting in a like capacity and familiar with such matters would

use in the conduct of an enterprise of like character and with like aims, in violation of 29 U.S.C.

§ 1104(a)(1)(B).

       266.    By the conduct and omissions described above, Defendants failed to discharge their

duties with respect to the Plan in a manner that diversified the investments of the plan so as to

minimize the risk of large losses, in violation of 29 U.S.C. § 1104(a)(1)(C).

       267.    Each Defendant knowingly participated in each violation by the other Defendants,

knowing that such acts were a violation, enabled the other Defendants to commit violations by

failing to lawfully discharge such Defendant’s own duties, and knew of the violations by the other

Defendants and failed to make any reasonable and timely effort under the circumstances to remedy

those violations.

       268.    Accordingly, each Defendant is also liable for the violations by its co-fiduciaries

under 29 U.S.C. § 1105(a).

       269.    As a direct and proximate result of these breaches of fiduciary duties, the Plan and

its participants have paid substantial excess investment management, recordkeeping, and other

fund-related fees during the Class Period, and suffered lost-opportunity costs which continue to

accrue, for which Defendants are jointly and severally liable pursuant to 29 U.S.C. § 1109 and 29



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U.S.C § 1132(a)(2).

       270.    The Plan and its participants suffered millions of dollars of losses due to these

excessive costs and lower net investment returns.

       271.    If Defendants had complied with their fiduciary obligations, then the Plan would

not have suffered these losses, and Plan participants would have more money available to them for

their retirement.

       272.    Pursuant to 29 U.S.C. §§ 1109(a) and 1132(a)(2), Defendants are liable to restore

to the Plan all losses caused by their breaches of fiduciary duties, and also must restore any profits

resulting from such breaches.

       273.    In addition, Plaintiff is entitled to equitable relief and other appropriate relief for

Defendants’ breaches as set forth in their Prayer for Relief.

                                       PRAYER FOR RELIEF

       274.    WHEREFORE, Plaintiff prays that judgment be entered against Defendants on all

claims and requests that the Court award the following relief:

               A.      A determination that Plaintiff may proceed on behalf of the Plan, in

       accordance with ERISA;

               B.      A determination that this action may proceed as a class action under Rule

       23(b)(1) or, in the alternative, Rule 23(b)(2) of the Federal Rules of Civil Procedure;

               C.      Designation of Plaintiff as Class Representative and designation of

       Plaintiff’s counsel as Class Counsel;

               D.      A declaration that the Defendants, and each of them, have breached their

       fiduciary duties under ERISA;

               E.      An Order compelling the Defendants to make good to the Plan all losses to



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 the Plan resulting from Defendants’ breaches of their fiduciary duties, including losses to

 the Plan resulting from imprudent investment of the Plan’s assets, and to restore to the Plan

 all profits the Defendants made through use of the Plan’s assets, and to restore to the Plan

 all profits which the participants would have made if the Defendants had fulfilled their

 fiduciary obligations;

        F.      An order requiring CCBA to disgorge all profits received from, or in respect

 of, the Plan, and/or equitable relief pursuant to 29 U.S.C. § 1132(a)(3) in the form of an

 accounting for profits, imposition of a constructive trust, or a surcharge against CCBA as

 necessary to effectuate said relief, and to prevent CCBA’s unjust enrichment;

        G.      Actual damages in the amount of any losses the Plan suffered, to be

 allocated among the participants’ individual accounts in proportion to the accounts’ losses;

        H.      An order enjoining Defendants from any further violations of their ERISA

 fiduciary responsibilities, obligations, and duties;

        I.      Other equitable relief to redress Defendants’ illegal practices and to enforce

 the provisions of ERISA as may be appropriate, including appointment of an independent

 fiduciary or fiduciaries to run the Plan and removal of Plan fiduciaries deemed to have

 breached their fiduciary duties;

        J.      An award of pre-judgment interest;

        K.      An award of costs pursuant to 29 U.S.C. § 1132(g);

        L.      A service award to the Class Representative;

        M.      An award of attorneys’ fees pursuant to 29 U.S.C. § 1132(g) and the

 common fund doctrine; and

        N.      Such other and further relief as the Court deems equitable and just.



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                                     Respectfully submitted by,

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